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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                Case No.: 21-CR-337 (RCL)

          v.                                             18 U.S.C. § 231(a)(3)

DERRICK EVANS,

          Defendant.


                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim . P. l l, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, DERRICK EVANS,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant's guilty plea-that is, if this case were to proceed to trial , the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.,\: Capitol on .January 6, 2021

          I.     The U.S . Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior fa9ade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol~ however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol; including by breaking windows -

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more. ·

than $1.4 million dollars for repairs.




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       7.      Shortly thereafter, at approximately 2:20 PM~ members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to-and did-evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol-including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check-Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


            DERRICK EVANS's Parti.cipation in the January 6, 2021, Capitol Riot

       8.      The defendant, DERRICK EVANS, lives in Pritchard, West Virginia. On January

5, 2021, defendant traveled from Burlington, Ohio to Washington, D.C., via charter bus. The

purpose of the defendant's trip to Washington, D.C., was to protest Congress' certification of the

Electoral College.

       9.      Prior to January 6, defendant had been recently elected to the West Virginia House

of Delegates. Using his public Facebookaccount, under the name "Derrick Evans-The Activist,"

the defendant posted about going to Washington, D.C. to protest. For instance, on December 28,

2020, the defendant posted an image of former President Trump including the words, "FIGHT

FOR TRUMP" and "JANUARY 6, We're Comin'l" The defendant included the caption "Anyone

else going to DC on Jan 6th?" On December 30, 2020, the defendant posted another image of the

former president, with the words, "TAKE AMERICA BACK. BE THERE WILL BE WILD. D.C.


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JANUARY 6, 2021," and the defendant added the caption, "One week from today! Who's going?"

On December 31, 2020, the defendant posted another image of the former president, with the text,

"A STORM IS COMING ... AND THERE IS NOTHING THE LEFT CAN DO TO STOP IT!"

        10.     On January 5, 2021, at 6:59 p.m., the defendant posted a photo of Washington,

D.C., with the caption, "We have two charter buses leaving the local area in 3 hours. I can't wait

for tomorrow. #StopTheSteal." At I 0:06 p.m., the defendant posted a photo that appeared to show

individuals seated inside a charter bus with the caption, "Two bus loads of Patriots from WV, KY,

and Ohio are loaded up and heading to DC. #StopTheSteal."

        11.     At 1:21 a.m. on January 6, 2021, the defendant posted a screenshot of a tweet by

the former president that read, "Just happened to have found another 4000 ballots from Fulton

County. Here we go!" The defendant added the caption, "This is why we are going to DC.

#StopTheSteal."

        12.    On January 6, defendanttried to attend the former president's "Stop the Steal rally,"

but, seeing the length of the line, decided to go straight to the Capitol building.

        13.    The defendant made his way to the East Side of the Capitol, where he spent several

hours and observed the crowd swell from approximately 50 to thousands of people. At about 1:45

p.m., the defendant saw and video-recorded rioters overwhelm law enforcement and breach the

barriers blocking the East Plaza of the Capitol. The defendant followed the crowd toward the

Capitol building and continued to video-record the events.

       14.     The defendant made his way up the East Steps of the Capitol and joined a mob of

rioters outside the East Rotunda Doors, where law enforcement officers were attempting to hold

the rioters back.    Rioters screamed at, pushed, pulled,· and otherwise assaulted these faw

enforcement officers guarding the Doors, eventually breaching that entryway.



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       I 5.        In a video that the defendant live-streamed to his public Facebook account and then

later deleted, the defendant is shown to be approximately 20 feet away from the Rotunda Doors

before they are breached. This video captures and the defendant narrates what he sees and hears

immediately before and as he enters the Capitol:

              a. As the screaming crowd pushes in the direction of the Doors, Evans says, "It's time

                   to go; they're in on the other side! The other side's in! The other side's in!"

              b. Another rioter sprays a chemical irritant in the direction of law enforcement. The

                   defendant coughs and chokes: "They're pepper spraying." The defendant later

                   states that he can't see and that he was pepper-sprayed in his right eye.

              c. The defendant's video pans away from the Doors, appearing to capture a law

                   enforcement officer getting away from the doors. The defendant says: "The cops

                   are running. The cops are running!" then, "Here we go! Here we go! Open the

                   doors." Another rioter shouts, "Whose house?!" and the defendant yells back, "Our

                   House!" These chants continue for several rounds.

              d. The defendant states, "We're at the door now. There's cops on the inside stopping

                   us now."

              e. The defendant flips the camera around to "selfie mode," and shows himself,

                   wearing a helmet and yelling "Trump!" in response to another rioter shouting,

                   "Who's your president?!" The defendant enthusiastically yells, "Woooo!" _

              f.   As the Rotunda Doors are pried open, the defendant yells, '.'The door's cracked!

                   We're goin' in!" Alarms blare overhead as the defendant approaches the Doors.

                   The defendant sees another rioter with a law enforcement riot shield and narrates

                   this for the video. The defendant, along with others, begins yelling, "Move! Move!



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               Move!" as the crowd squeezes toward and through the doors, and repeatedly says

               "We're in, we're in." The defendant yells, "Are they still fighting cops there?"

       16.     Once he makes it through the doors, the defendant exclaims, "We're in! Derrick

Evans is in the Capitol!"

       17.     The defendant entered the Capitol at approximately 2:40 p.m. He walked through

the Rotunda and Statuary Hall, and exited the Capitol at approximately 2:50 p.m. through the same

door that he entered.

                                     Elements of the Offense

       18.     DERRICK EVANS knowingly and voluntarily admits to all the elements of 18

U.S.C. § 23 l(a)(J). Specifically, defendant admits that

   •   The defendant committed or attempted to commit an act to obstruct, impede, or interfere

       with law enforcement officers while engaged in the lawful perfonnance of their official

       duties incident to and during the commission of a civil disorder. The defendant further

       admits that the civil disorder obstructed, delayed, or adversely affected the performance of

       a federally protected function.

                                             Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                             By:           Isl
                                                    Kathryn E. Fifield
                                                    Trial Attorney
                                                    U.S. Department of Justice, Crim. Div.
                                                    Detailed to the D.C. U.S. Attorney's Office




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                         DEFENDANT'S ACKNOWLEDGMENT

       I, DERRICK EVANS, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date:   /~
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                                      DERRICK EVANS
                                      Defendant


                          ATTORNEY'S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:
                                           ~~
                                      DAVID TYSON
                                      Attorney for Defendant




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